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                                                         March 12, 2025
        VIA ECF                                                                       USDC SDNY
                                                                                      DOCUMENT
        Hon. Mary Kay Vyskocil                                                        ELECTRONICALLY FILED
        Daniel Patrick Moynihan United States Courthouse                              DOC #:
        500 Pearl Street                                                              DATE FILED: 3/13/25
        New York, NY 10007

        Re:      Pania et al. v. Crunch Holdings, LLC et al., No. 1:24-cv-7127-MKV

        Dear Judge Vyskocil:

                We represent Plaintiffs Camille Pania and Rashiya Al-Nurridin (“Plaintiffs”) in the above-
        referenced action. Pursuant to Rule 7.1(d) of the Local Rules of the United States District Courts
        for the Southern and Eastern Districts of New York and Rule 2(G) of this Court’s Individual Rules,
        we write to request that Plaintiffs’ deadline to oppose Defendants’ Motion to Compel Arbitration
        (ECF No. 26), currently March 14, 2025, be extended to March 28, 2025. Defendants consent to
        this request.

               This is Plaintiffs’ second request for an extension of its deadline to respond to the Motion
        to Compel Arbitration (the first request was granted). Good cause exists to grant this extension
        because the parties are engaged in discussions regarding a potential resolution of this matter and
        the requested additional time will allow the Parties to complete those discussions. Further, an
        extension will result in preserving the Court’s resources and time and potentially avoid
        unnecessary motion practice as the outcome of the settlement negotiations may result in the
        dismissal of this Action.

                 This request will not affect any other deadlines currently scheduled in this case.

GRANTED.                                                                        Respectfully submitted,
The parties are reminded that failure to comply with this Order or with any
order of the Court or failure to comply with the FRCP, the Local Rules for
                                                                                s/ Tyler K. Somes
the SDNY or this Court’s Individual Practice Rules, or the parties’
discovery or other obligations thereunder may result in sanctions, including
monetary penalties on counsel and/or the parties, dismissal or preclusion of    Tyler K. Somes
claims, defenses, arguments, or evidence.                                       Hedin LLP
SO ORDERED.                                                                     1100 15th Street NW, St. 04-108
                                                                                Washington DC, 20005
          3/13/2025                                                             Phone: (202) 900-3332
                                                                                Email: tsomes@hedinllp.com

        Cc: Counsel of Record via CM/ECF                                        Counsel for Plaintiffs
